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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SHAWN STEWART, 22-Ccv-3583 (JSR)

Plaintiff, MEMORANDUM ORDER

—-V-
STEPHANIE DAVIS and BRIAN HIRSCHMAN,

Defendants/Third-Party
Plaintiffs,

~y-
THE CITY OF NEW YORK.

Third-Party Defendant.

JED S. RAKOFF, U.S.D.J.:

A jury unanimously found defendants, former police officers
Stephanie Davis and Brian Hirschman, liable under 42 U.S.C. § 1983
for unlawfully detaining plaintiff Shawn Stewart without
reasonable suspicion, and awarded Mr. Stewart $25,000 in damages.
After trial, this Court denied defendants’ motion for qualified
immunity and the City of New York declined to indemnify them.
Defendants now seek a judgment as a matter of law that they are
entitled to indemnification. The Court remains sympathetic to
these defendants because, in the Court’s view, their modest
infractions were to some degree provoked by Mr. Stewart’s
intransience. However, for the reasons stated below, the Court is

nevertheless obliged to deny their motion.
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I. Background

Both the Court and the parties are well familiar with the
facts in this case, which are outlined in detail in the Court’s
earlier order denying qualified immunity, ECF No. 75, and which
were chiefly evidenced by the recordings on the officers’ body
cameras. The Court briefly recounts those facts below.

On September 25, 2019, defendants, two officers of the New
York City Police Department (“NYPD”), were on patrol in the Bronx
neighborhood of Co-op City. At approximately 11:40 am, they
received a radio call from dispatch asking nearby officers to
respond to a domestic assault that had allegedly occurred in
Apartment 16-G of a building located at 140 Asch Loop. Responding
to the call, defendants inadvertently drove to 140 Alcott Street,
a different building in the same neighborhood. Arriving at 140
Alcott Street, the only thing that defendants knew about the
suspect of the alleged domestic assault was that he was male. Under
normal circumstances, defendants would have been able to access a
description of the suspect from a tablet in their patrol vehicle,
but the tablet was not working.

Around noon, defendants entered 140 Alcott and took an
elevator up to the sixteenth floor. When the elevator doors opened,
defendants saw Mr. Stewart, who is male, standing by the elevator
call button. Defendants immediately asked Mr. Stewart where he was

coming from, to which Mr. Stewart responded, “an apartment,” but
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did not specify the number. Defendants then proceeded to ask Mr.
Stewart various other questions about who he was and where he was
coming from, which Mr. Stewart adamantly refused to answer.
Thereupon, defendants reassured Mr. Stewart that they were just
trying to ensure that he was not involved in the reported incidence
of domestic violence (which, as later ascertained, he was not),
but he still did not offer his name or address. Officer Davis then
asked Mr. Stewart, “Do you want us to handcuff you?” to which Mr.
Stewart responded, “Sure, go ahead,” before turning around and
placing his hands behind his back. Officer Davis then stated,
“Fine, cuff him up,” and Officer Hirschman proceeded to do so.
After Officer Hirschman handcuffed Mr. Stewart, defendants
continued to ask him simple, basic questions, which he once again
refused to answer.!

A few minutes later, Officer Davis answered a call from a
police lieutenant, who was one of her superiors. Officer Davis
told the lieutenant:

This guy was giving us a hard time so we had to forcibly .

stop him. He refused to tell us where he was coming from and

he’s just challenging us and everything. He doesn’t seem to
be part of the dispute now that we have more information. But
he is just on a rampage now. . . . We kept asking his name

and where he was coming from but he did not want to give it
to us. He was trying to flee in the elevator

} Although Mr. Stewart had a legal right to silence, it is clear
that he never believed the answers would incriminate him in any
way whatsoever; he simply intended to give the police a hard time.
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Although Officer Davis told the lieutenant that she did not believe
that Mr. Stewart was a suspect in the dispute, defendants did not
release him. When the lieutenant later arrived at the scene, the
lieutenant, with whom Mr. Stewart was more cooperative, confirmed
Mr. Stewart’s name and that Mr. Stewart worked, but did not live,
in the building. The lieutenant then directed defendants to uncuff
Mr. Stewart and release him.

In the months that followed, the New York City Civilian
Complaint Board (“CCRB”) investigated this incident. Following
that investigation, the CCRB found that defendants had violated
various departmental rules. Specifically, the CCRB determined that
Officer Davis had abused her authority by questioning, stopping,
and threatening to arrest Mr. Stewart, by interfering with Mr.
Stewart’s use of a recording device, and by frisking and searching
him. See ECF No. 79, Exhibit M, at 1. The CCRB further determined
that Officer Hirschman had abused his authority by stopping and
questioning Mr. Stewart. See id. Having made these investigative
findings, the CCRB served Officer Davis with NYPD Charges and
Specifications alleging that she questioned, stopped, frisked, and
searched Mr. Stewart without sufficient legal authority. See ECF
No. 79, Exhibit K, at @ 3. Officer Davis pleaded guilty to those
charges pursuant to a negotiated settlement. See id. at 99 8, 22.

The CCRB also recommended that the NYPD impose on Officer

Hirschman a Schedule B command discipline. See ECF No. 79, Exhibit
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J, at 1. Although the NYPD ultimately determined that Officer
Hirschman had acted in “good faith” and that a Schedule B command
discipline was not appropriate, it nevertheless agreed that “both
the stop and the question were improper” and imposed a Schedule A
command discipline. Id. Like Officer Davis, Officer Hirschman also
pleaded guilty to the CCRB’s disciplinary findings. See ECF No.
79, Exhibit I, at 1.

On May 3, 2022, Mr. Stewart sued defendants under 42 U.S.C.
§ 1983 for unlawful detention and excessive force. Defendants
proceeded to file a third-party complaint against the City, seeking
indemnification if they were found liable. The Court bifurcated
the third-party indemnification claim, ruling that it would decide
the indemnification issue as a matter of law if the jury found
defendants liable for either of Mr. Stewart’s claims. After several
months of discovery, and a mediation that ultimately failed, the
case went to trial. The jury unanimously found defendants not
liable for excessive force, but liable for unlawful detention, and
awarded $25,000 in damages. Defendants then moved for judgment as
a matter of law under Federal Rule of Civil Procedure 50, arguing
that they were entitled to qualified immunity. The Court denied
that motion, holding that no reasonable police officer could have
believed that there was reasonable suspicion to detain Mr. Stewart.

On July 12, 2024, defendants submitted a letter to the City’s

Corporation Counsel, requesting indemnification from the City
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pursuant to General Municipal Law § 50-k. In letters separately
addressed to each defendant, Corporation Counsel denied their
request based on the fact that both officers pleaded guilty to
CCRB’s disciplinary findings, as well as on its determination that
those findings were supported by the evidence presented at trial.
See ECF No. 79, Exhibit I.

Defendants have now moved before this Court for a judgment as
a matter of law that they are entitled to indemnification by the
City. For the reasons stated below, the Court must deny their
motion.

Tf. Standard

Under section 50-k, the City must indemnify an employee for
conduct that complies with the rules and regulations of the
employee’s agency, so long as any injury was not the result of the
employee’s intentional wrongdoing or recklessness. See N.Y. Gen.

Mun. Law § 50-k(3).% “The question [of] whether an act was done in

2 Section 50~-k(3) provides in full:

The city shall indemnify and save harmless its employees in
the amount of any judgment obtained against such employees in
any state or federal court, or in the amount of any settlement
of a claim approved by the corporation counsel and the
comptroller, provided that the act or omission from which
such judgment or settlement arose occurred while the employee
was acting within the scope of his public employment and in
the discharge of his duties and was not in violation of any
rule or regulation of his agency at the time the alleged
damages were sustained; the duty to indemnify and save
harmless prescribed by this subdivision shall not arise where
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violation of any agency rule, or was within the employee’s scope
of employment, is a factual determination made in the first
instance by Corporation Counsel, whose determinations may be set
aside only if they are not supported by the evidence or are in

some other sense arbitrary and capricious.”3 Ekukpe v. Santiago,

823 Fed. App’x 25, 33 (2d Cir. 2020) (unpublished) (quoting

Mercurio v. City of New York, 758 F.2d 862, 865 n.1 (2d Cir. 1985)

(citing Williams v. City of New York, 64 N.Y.2d 800, 802 (N.Y.

1985))). In determining whether Corporation Counsel’s decision
lacks evidentiary support or was arbitrary and capricious, the
Court must “consider the record available to the Corporation
Counsel at the time of decision and determine whether the
Corporation Counsel’s determination is rational and substantiated

by facts contained in that record.” Banks v. Yokemick, 214 F. Supp.

2d 401, 411 (S.D.N.Y. 2002).

TII. Discussion

After careful consideration, the Court concludes that
Corporation Counsel’s decision to deny indemnification to
defendants was not arbitrary and capricious. The decision was based

on both defendants’ disciplinary records before the CCRB and the

the injury or damage resulted from intentional wrongdoing or
recklessness on the part of the employee.

3 Unless otherwise indicated, all case quotations omit internal
alterations, brackets, Citations, ellipses, quotations, and
quotation marks.
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NYPD, as well as the trial record before this Court. As discussed
above, the CCRB substantiated findings that both defendants abused
their authority during the incident, after which both defendants
pleaded guilty. Moreover, a jury unanimously voted that defendants
unlawfully detained Mr. Stewart without reasonable suspicion, a
verdict that required them to conclude that defendants acted with
“intent[] to detain him.” ECF No. 79, Exhibit D, at 370:4. The
record evidence therefore supports a finding that Mr. Stewart’s
constitutional injury was the result of “intentional wrongdoing.”
N.Y. Gen. Mun. Law § 50-k(3). Under these circumstances,
Corporation Counsel’s decision not to indemnify defendants was not
arbitrary and capricious.

Defendants insist that Corporation Counsel’s decision was
arbitrary and capricious for two reasons, neither of which is
ultimately persuasive. As to Corporation Counsel’s decision with
respect to Officer Davis, defendants argue that Officer Davis
decided to plead guilty under difficult personal circumstances and
that she was not aware that the City would not indemnify her at
the time. See ECF No. 79, Exhibit K, at @@ 7-21. The Court is
sensitive to the personal circumstances that contributed to
Officer Davis’s decision to plead guilty. However, defendants do
not explain how, in light of the record before Corporation Counsel
after trial, those circumstances rendered Corporation Counsel’s

indemnification denial arbitrary and capricious.
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As to Corporation Counsel’s decision with respect to Officer
Hirschman, defendants point to the NYPD’s acknowledgment, in its
letter imposing a Scnedule A discipline, that Officer Hirschman
had acted in “good faith.” See ECF No. 79, at Exhibit J, at 1.
However, as the case law makes clear, for purposes of section 50-
k, what matters is the determination of Corporation Counsel, not

any determinations of an employee’s agency. See Ekukpe, 823 Fed.

App’x at 33. Here, although the NYPD found that Officer Hirschman
acted in “good faith,” Corporation Counsel nevertheless determined
that the record demonstrated that Officer Hirschman had violated
applicable rules. Accordingly, the Court must conclude that
Corporation Counsel’s decision denying indemnification was not
arbitrary and capricious.

IV. Conclusion

For the foregoing reasons, applying the arbitrary and
capricious standard to Corporation Counsel’s decision in this
case, the Court is obliged to deny defendants’ motion for judgment
as a matter of law. As the jury found, the defendants did not
perfectly adhere to the law, and their decision to detain Mr.
Stewart without sufficient cause was unlawful. Overall, however,
in the Court’s view, the defendants, who were under the belief
that domestic violence might still be ongoing in an apartment near
the location where Mr. Stewart was stopped, exercised considerable

restraint under difficult circumstances. In the broader picture,
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therefore, while the defendants’ less-than-perfect confrontation
with the difficult Mr. Stewart involved a brief intentional
detention that Mr. Stewart almost invited, overall the “injury” to
Mr. Stewart was very modest and the “intentional wrongdoing” of
the defendants very minimal. See N.Y. Gen. Mun. Law § 50-k(3).
Under these “de minimis” circumstances, the Court remains hopeful
that Corporation Counsel will exercise its discretion to
reconsider its decision denying indemnification. In the meantime,
Since there is nothing further that can be done in this Court, the
Clerk of Court is directed to close the case.

SOQ ORDERED.

New York, NY SNe
May 7 , 2025 JED“S. RAKOFF; U.S.D.J

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